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                                      UNITED STATES DISTRICT COURT
                                              SOUTHERN DISTRICT OF ALABAMA

 UNITED STATES OF AMERICA                                                         JUDGMENT IN A CRIMINAL CASE
                                                                                  (For Revocation of Supervised Release)

 v.
                                                                                  Case Number: 1:14-CR-00003-001
 MARKUS D. BELL                                                                   USM Number: 13849-003
                                                                                  Peter J. Madden, Esquire
                                                                                  Defendant’s Attorney

THE DEFENDANT:
       admitted guilt to violation of standard conditions 1, 4, 5 and the special condition of the term of supervision as set forth in the
 Petition dated 4/21/2022.
       was found in violation of condition(s) after denial of guilt.

The defendant is adjudicated guilty of these violations:

      Violation Number                       Nature of Violation                              Violation Ended
              1                                     Technical
              4                                     Technical
              5                                     Technical
            Special                                 Technical


The defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

       The defendant has not violated condition(s) ________________________ and is discharged as to such violation(s)
       condition.

         IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of material changes in
economic circumstances.



                                                                           June 23, 2022
                                                                           Date of Imposition of Judgment

                                                                           /s/Terry F. Moorer
                                                                           Signature of Judge

                                                                           TERRY F. MOORER
                                                                           UNITED STATES DISTRICT JUDGE
                                                                           Name and Title of Judge

                                                                           June 24, 2022
                                                                           Date
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DEFENDANT:                 MARKUS D. BELL
CASE NUMBER:               1:14-CR-00003-001
                                                      IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:

TWENTY-FOUR (24) MONTHS.

       The court makes the following recommendations to the Bureau of Prisons:



       The defendant is remanded to the custody of the United States Marshal.
       The defendant shall surrender to the United States Marshal for this district:

               at                                        a.m.                p.m.   on

                as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                before 2 p.m. on
                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.


                                                             RETURN
I have executed this judgment as follows:


        Defendant delivered on                                     to


at                                      , with a certified copy of this judgment.




                                                                                         UNITED STATES MARSHAL
                                                                        By

                                                                                         DEPUTY UNITED STATES MARSHAL
